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                Exhibit A
                 Case 2:18-cv-01714-DGC Document 35-1 Filed 11/30/18 Page 2 of 4


Mrazik, Ryan T. (SEA)

From:                Craig Brittain <craigrbrittain@gmail.com>
Sent:                Thursday, October 25, 2018 1:24 PM
To:                  Mrazik, Ryan T. (SEA)
Subject:             Service of Current Motions
Attachments:         midptotwitter.pdf; injunctiontwitter.pdf


Mr. Mrazik,  
 
AO398 and AO399 were filed with the District Court for the District of Arizona. 
 
Here are copies of the current motions ‐ one is for the MIDP, the Mandatory Initial Discovery Process requests, which 
will (presumably) have a hearing set forth, and the other is for an injunction which likewise will (presumably) be set for a 
hearing.  
 
Please indicate when you have received and again when you have reviewed the documents, and/or if there are other 
concerns/questions. 
 
Best regards, 
 
Craig R. Brittain 
In Propria Persona 
8625 E. Sharon Dr 
Scottsdale, AZ, 85260 
(602) 502‐5612 
 
NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, 
please advise the sender by reply email and immediately delete the message and any attachments without disclosing or 
copying the contents. 




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                Exhibit B
                Case 2:18-cv-01714-DGC Document 35-1 Filed 11/30/18 Page 4 of 4


Mrazik, Ryan T. (SEA)

From:               Craig Brittain <craigrbrittain@gmail.com>
Sent:               Tuesday, November 20, 2018 3:07 PM
To:                 Mrazik, Ryan T. (SEA); Cabou, Jean-Jacques "J" (PHX)
Subject:            MIDP Document Production
Attachments:        midprequests.pdf


Mr. Mrazik/Mr. Cabou, please produce the requested documents and set a scheduled conference time immediately. 
 
Regards, 

Craig R. Brittain 
In Propria Persona 
8625 E. Sharon Dr 
Scottsdale, AZ, 85260 
(602) 502‐5612 
 
NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, 
please advise the sender by reply email and immediately delete the message and any attachments without disclosing or 
copying the contents 




                                                           1
